

Jones v City of New York (2025 NY Slip Op 02549)





Jones v City of New York


2025 NY Slip Op 02549


Decided on April 29, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 29, 2025

Before: Kern, J.P., Kennedy, Friedman, Gesmer, Scarpulla, JJ. 


Index No. 22731/15|Appeal No. 4222|Case No. 2024-00708|

[*1]Ronnell Jones, Plaintiff-Appellant,
vCity of New York et al., Defendants-Respondents.


Mitchell Dranow, Sea Cliff, for appellant.
Muriel Goode-Trufant, Corporation Counsel, New York (Hannah J. Sarokin of counsel), for respondents.



Order, Supreme Court, Bronx County (Mitchell J. Danziger, J.), entered December 22, 2023, which granted defendants' motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
Defendants established prima facie entitlement to summary judgment by submitting affidavits of Department of Transportation and Department of Environmental Protection record searchers regarding the results of the two-year searches they performed of the pertinent electronic databases for those agencies, which showed that they did not receive prior written notice or receive any complaints of the defect in the catch basin upon which plaintiff tripped and fell (see Hued v City of New York, 170 AD3d 571, 571 [1st Dept 2019]; Harvey v Henry 85 LLC, 171 AD3d 531, 531-532 [1st Dept 2019], lv denied 33 NY3d 911 [2019]; Jones v City of New York, 159 AD3d 571, 571-572 [1st Dept 2018]).
In opposition, plaintiff failed to raise a question of fact as to whether defendants had prior written notice, or that an exception to the notice requirement applied to the accident (see Correa v Mana Constr. Group Ltd., 192 AD3d 555 [1st Dept 2021]; Flynn v City of New York, 154 AD3d 488, 488 [1st Dept 2017]).
We have considered plaintiff's remaining arguments and find them unavailing.	
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 29, 2025








